Case 1:04-cv-01342-.]DT-STA Document 43 Filed 08/23/05 Page 1 of 2 Page|D 29

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EAsTERN DIVISION org/;‘..,.-:j;».»a 26

DWIGHT B. WALKER, personal )
representative of the Estate of )
WILLIE MAE WALKER, )
)
Plaintiff, )
)

VS. ) No. 04-1342-T/An
)
GREYHOUND BUS LINES, INC., and )
ARC INTERNATIONAL CORP. d/b/a )
TRANS USA CORPORATION, )
)
Defendants. )

 

OR_DER DENYING MOTION TO RESET TRJAL DATE AS UNNECESSARY

 

The parties in this case have filed a joint motion to reset the trial date. The parties also filed
ajoint motion to consolidate this case with several other related cases, for all pretrial proceedings,
and a joint motion to continue the scheduling conference currently set for August 30, 2005.

The joint motion to reset the trial date is DENIED as unnecessary, as no official trial date has
been set in this case. The set of instructions regarding the scheduling conference, which is attached
to the Notice of Setting, specifically states that the trial date contained therein is “tentative only and
may be changed by the scheduling order.” The case Will not be placed on the Court’s trial calendar
until a scheduling order is actually issued

lT lS SO ORDERED.
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JAME D. TODD
UNIT D STATES DISTRICT JUDGE

DATE 23 O//~»O\M 9005’

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Notice of Distribution

This notice confirms a copy of the document docketed as number 43 in
case 1:04-CV-01342 Was distributed by faX, mail, or direct printing on
August 24, 2005 to the parties listed.

assEE

 

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Honorable J ames Todd
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